                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 UNITED STATES OF AMERICA,                              )
                                                        )
        Plaintiff,                                      )
                                                        )
 v.                                                     )       No. 3:07-cr-51
                                                        )       (Phillips/Shirley)
 JOHNNIE MARTIN,                                        )
                                                        )
        Defendant.                                      )


                                 MEMORANDUM AND ORDER

        On February 23, 2008, defendant Johnnie Martin, proceeding pro se, filed a motion to

 suppress search warrant and evidence seized at 3916 Deerfield Avenue, Knoxville, Tennessee [Doc.

 284]. On May 3, 2007, federal Drug Enforcement Agency (“DEA”) agents had conducted a search

 and seizure at 3916 Deerfield Avenue, Knoxville, Tennessee, pursuant to a search warrant issued

 by the Honorable C. Clifford Shirley, United States Magistrate Judge. Defendant moves the court

 to suppress the evidence seized, arguing that the affidavit supporting the search warrant was not only

 invalid but also did not cover the marijuana seized.

        On February 26, 2008, this court conducted an evidentiary hearing regarding defendant’s

 motion to suppress. In accordance with the court’s oral ruling at the hearing, defendant’s motion

 to suppress is DENIED.



 I.     BACKGROUND

        This case involves multiple defendants alleged to have participated in a large conspiracy to


                                                  -1-


Case 3:07-cr-00051-TAV-HBG            Document 299          Filed 02/26/08     Page 1 of 8      PageID
                                            #: 797
 distribute cocaine, crack cocaine, marijuana, and MDMA, commonly known as Ecstasy. After a

 lengthy investigation including wiretaps and other forms of surveillance, federal DEA agents

 obtained a search warrant for the residence at 3916 Deerfield Avenue, Knoxville, Tennessee. On

 May 3, 2007, the agents entered the residence and seized $66,000 in US currency, a .40 caliber

 firearm, marijuana, and a binder notebook, allegedly containing information regarding drug sales.

        Defendant recently elected to proceed pro se, after his previous counsel was allowed to

 withdraw due to an alleged conflict of interest. On February 20, 2008, due to Martin’s self-

 representation, Judge Shirley severed Martin’s trial from that of his two remaining co-defendants,

 and on February 23, 2008, Martin filed the motion to suppress presently before this court. On

 February 26, 2008, an evidentiary hearing was conducted regarding the motion. Special Agent

 Bethel Poston testified at the behest of the defendant, and Special Agent James Blanton testified on

 behalf of the government.

        In support of his motion to suppress, Martin first argues that the search in general was illegal,

 as the affidavit in support of the search warrant was invalid. Specifically, Martin contends that the

 multiple intercepted phone calls on which the affiant, Special Agent (“S.A.”) Poston, primarily

 relied did not constitute probable cause that a search of the premises would reveal evidence of drug

 crimes. Martin contends that the government lacked probable cause because of confusion as to the

 identities of the callers and whether they were referring to cocaine or marijuana. Martin relies

 heavily on reports of investigation issued some time before the search warrant was issued. At the

 evidentiary hearing, S.A. Poston admitted that during the early stages of the investigation, there was

 confusion as to the identity of the callers in the intercepted phone calls. For example, the

 investigators were confused as to whether “Tony Manning” was an alias for defendant Martin or


                                                  -2-


Case 3:07-cr-00051-TAV-HBG            Document 299         Filed 02/26/08       Page 2 of 8      PageID
                                            #: 798
 whether he was a separate person. S.A. Poston testified, however, that the investigators later

 determined that Tony Manning and defendant Martin were indeed separate people and resolved any

 confusion.

        Similarly, Martin argues that the government’s initial confusion as to the identity of Tony

 Manning did not establish probable cause to link him to the Deerfield Avenue residence. In

 determining that 3916 Deerfield Avenue was Martin’s residence, investigators initially relied upon

 a Pontiac Firebird vehicle that was often seen at the residence. Investigators observed the Firebird

 leave the residence and identified the driver as Tony Manning. At that point in the investigation,

 agents still believed Tony Manning simply to be an alias for the defendant, Johnnie Martin. After

 determining the car was rented from Avis Rental Car Company in Knoxville, Tennessee,

 investigators showed an Avis employee a photograph of Martin for the employee to identify. The

 employee, however, said that Martin was decidedly not the man who had rented the car.

        At the evidentiary hearing, S.A. Poston again admitted that the initial stages of the

 investigation had presented a good deal of confusion as to the identities of Tony Manning and

 Johnnie Martin. S.A. Poston noted, however, that the photograph of Martin which he had showed

 the Avis employee was older and that Martin’s appearance had changed. S.A. Poston further

 testified that the overwhelming amount of evidence obtained from surveillance of the Deerfield

 Avenue property and the wiretapped phone calls established that 3916 Deerfield Avenue was

 Martin’s residence. S.A. Poston testified that he had personally seen Martin at the residence on

 numerous occasions. Accordingly, S.A. Poston testified, the wealth of information obtained during

 the investigation established the probable cause to which he testified under oath in his affidavit.

        Finally, Martin argues that the marijuana was illegally seized, as Judge Shirley had stricken


                                                 -3-


Case 3:07-cr-00051-TAV-HBG           Document 299         Filed 02/26/08      Page 3 of 8      PageID
                                           #: 799
 “other controlled substances such as marijuana” from the terms of the search warrant. Special Agent

 James Blanton testified on behalf of the government as to the details of the search and seizure

 conducted on May 3, 2007 at 3916 Deerfield Avenue. The government contends that the marijuana

 was lawfully seized, despite having been stricken from the scope of the search warrant, under the

 plain view doctrine.



 II.    ANALYSIS

        A.      Validity of the Search Warrant

        The first of defendant’s arguments pertains to the legality of the search in general of the

 residence at 3916 Deerfield Avenue. The Fourth Amendment to the Constitution of the United

 States protects against unreasonable searches and seizures. U.S. Const. amend. IV. Searches and

 seizures conducted pursuant to a warrant are preferred, as they help guard against the prospect of

 unreasonable searches and seizures. See, e.g., Illinois v. Gates, 462 U.S. 213, 236-37 (1983). The

 Constitution mandates that “no [w]arrants shall issue but upon probable cause, supported by oath

 or affirmation.” U.S. Const. amend. IV.

        Because of the strong preference for searches conducted pursuant to a search warrant, the

 Supreme Court has held that “[a] magistrate’s ‘determination of probable cause should be paid great

 deference by reviewing courts.’ ” Illinois, 462 U.S. at 236 (quoting Spinelli v. United States, 393

 U.S. 410, 419 (1969)). Accordingly, the Sixth Circuit requires merely that an affidavit in support

 of a search warrant “indicate a fair probability that the evidence of a crime will be located on the

 premises of the proposed search,” United States v. Frazier, 423 F.3d 526, 531 (6th Cir. 2005); e.g.,

 United States v. Finch, 998 F.2d 349, 352 (6th Cir. 1993), rather than “an actual showing of such


                                                 -4-


Case 3:07-cr-00051-TAV-HBG           Document 299        Filed 02/26/08      Page 4 of 8      PageID
                                           #: 800
 activity,” United States v. Smith, 182 F.3d 473, 477 (6th Cir. 1999) (quoting Illinois, 462 U.S. at 244

 n.13). “In reviewing whether such a probability existed, courts should examine the totality of the

 circumstances.” Finch, 998 F.2d at 352. Moreover, the great deference accorded to the magistrate

 requires that a warrant be “upheld as long as the magistrate had a substantial basis for concluding

 that a search would uncover evidence of wrongdoing.” Smith, 182 F.3d at 477 (quotation omitted).

 Finally, review of the sufficiency of the evidence supporting the search warrant “is limited to the

 information presented in the four-corners of the affidavit.” Frazier, 423F.3d at 531.

        Martin argues that there was not probable cause for the search warrant to issue. S.A.

 Poston’s testimony, however, demonstrated the vast amount of evidence from which the

 investigators concluded that Martin lived at 3916 Deerfield Avenue and that he was heading a large

 drug conspiracy from that residence. The four corners of the affidavit lend support to this testimony.

 Investigators intercepted thousands of wiretapped phone calls during the investigation in which the

 speakers used commonly known drug trafficking language. During their lengthy surveillance, he

 investigators also observed Martin and other defendants multiple times at the Deerfield Avenue

 residence. The affidavit testifies to but a small portion of the evidence which the DEA agents had

 obtained indicating that drug activity was occurring at the resideence.

        Under the totality of the circumstances and the wealth of information obtained during the

 lengthy investigation, therefore, there was certainly probable cause for the search warrant to issue.

 The affidavit indicated more than a fair probability that the evidence of crime would be located at

 Deerfield Avenue residence, e.g., United States v. Frazier, 423 F.3d at 531, and Judge Shirley

 therefore had a substantial basis to issue a search warrant for the residence. Consequently, this court

 will uphold the search warrant as valid. As the search conducted at 3916 Deerfield Avenue was


                                                  -5-


Case 3:07-cr-00051-TAV-HBG            Document 299         Filed 02/26/08      Page 5 of 8       PageID
                                            #: 801
 pursuant to a valid search warrant, defendant’s motion to suppress must be denied with regard to his

 arguments concerning the general legality of the search.

        B.      Plain View

        In addition to disputing the general validity of the search, Martin argues in particular that the

 marijuana seized from the residence be suppressed as outside the scope of the search warrant. As

 Martin points out, Judge Shirley had removed “other controlled substances such as marijuana and

 MDMA, or Ecstasy” [Doc. 285-2, at 1] from the scope of the search. Martin therefore argues that

 the marijuana was illegally seized and should accordingly be suppressed.

        The law, however, “recognizes the plain view doctrine as an exception to the warrant

 requirement.” United States v. Garcia, 496 F.3d 495, 508 (6th Cir. 2007). In order for the plain

 view doctrine to apply, the following four factors must be met: “(1) the object must be in plain

 view; (2) the officer must be legally present in the place from which the object can be plainly seen;

 (3) the object’s incriminating nature must be immediately apparent; and (4) the officer must have

 a right of access to the object.” Id. Determining whether the object’s incriminating nature is

 “immediately apparent” does not require “an ‘unduly high degree of certainty;’ rather, a plain view

 seizure is ‘presumptively reasonable, assuming that there is probable cause to associate the property

 with criminal activity.’ ” United States v. Calloway, 116 F.3d 1129, 1133 (6th Cir. 1997) (quoting

 Texas v. Brown, 460 U.S. 730,. 741-42 (1983)). The government bears the burden of proving the

 legality of a seizure under the plain view doctrine. United States v. Herndon, 501 F.3d 683, 692 (6th

 Cir. 2007).

        Having already established that the officers were legally present pursuant to a valid search

 warrant, see supra Part II.A., the court must determine whether the remaining three factors have


                                                  -6-


Case 3:07-cr-00051-TAV-HBG            Document 299         Filed 02/26/08       Page 6 of 8      PageID
                                            #: 802
 been met. The court finds that government has established the remaining factors; accordingly, the

 marijuana was lawfully seized pursuant to the plain-view exception to warrantless searches.

        First, the marijuana was in plain view. S.A. Blanton testified while conducting the search,

 officers discovered the marijuana in plain view whilst searching in places authorized by the search

 warrant. S.A. Blanton testified that when executing the search warrant, the officers searched the

 living room, closets, and air condition ducts of the residence, as cocaine, the subject of the search

 warrant, can easily be concealed. While conducting this search, the officers discovered the

 marijuana in plain view.

        With regard to the third factor, Martin apparently disputes the “immediately apparent”

 criminal nature of the marijuana. At the evidentiary hearing, Martin argued to the court that

 substances, such as cocaine, are not immediately discernible as illegal drugs. As S.A. Blanton

 testified, however, he has extensive experience investigating and seizing these types of drugs. S.A.

 Blanton testified that because of his experience, he can readily identify the various controlled

 substances at issue in this case, namely cocaine, cocaine base (also known as crack), marijuana, and

 MDMA (also known as Ecstasy). S.A. Blanton testified that each time he has sent a substance to

 the crime laboratory to determine its nature, his initial identification has been confirmed.

 Accordingly, this satisfies the third factor that the incriminating nature of the substance was readily

 apparent, as this factor does not require a high degree of certainty. Moreover, the court reiterates

 that its previous finding that there was probable cause to associate 3916 Deerfield Avenue with

 criminal activity renders the plain view seizure presumptively reasonable. Brown, 460 U.S. at 741-

 42 (plain view seizures are “presumptively reasonable, assuming that there is probable cause to

 associate the property with criminal activity”); accord Calloway, 116 F.3d at 1133.


                                                  -7-


Case 3:07-cr-00051-TAV-HBG            Document 299         Filed 02/26/08      Page 7 of 8       PageID
                                            #: 803
         Finally, the fourth factor of the plain view doctrine is satisfied in this case. As S.A. Blanton

 testified, the officers conducting the search had a right of access to virtually all corners of the house,

 as cocaine can be hidden virtually anywhere. Moreover, the search warrant specifically noted that

 the objects of the search warrant were “concealed” at the property. [See Doc. 285-2]. While

 conducting this search, the officers discovered the marijuana in plain view. Accordingly, the

 officers had a right of access to the object, and the fourth factor was satisfied.

         In sum, the government has met its burden of establishing that the marijuana was legally

 seized under the plain view doctrine, despite the fact that marijuana was not included in the scope

 of the search warrant. Defendant’s motion to suppress therefore must also be denied with regard to

 his clams of the illegal seizure of the marijuana.



 III.    CONCLUSION

         Because the search was conducted pursuant to a valid search warrant and because the

 marijuana was legally seized under the plain view exception, defendant’s motion to suppress [Doc.

 284] is DENIED.

         IT IS SO ORDERED.

                                 ENTER:


                                                s/ Thomas W. Phillips
                                              United States District Judge




                                                    -8-


Case 3:07-cr-00051-TAV-HBG             Document 299          Filed 02/26/08       Page 8 of 8      PageID
                                             #: 804
